
80 So. 3d 1132 (2012)
John E. PORTER, Petitioner,
v.
STATE of Florida, Respondent.
No. 1D11-4867.
District Court of Appeal of Florida, First District.
February 29, 2012.
John E. Porter, pro se, Petitioner.
Pamela Jo Bondi, Attorney General, and Edward C. Hill, Jr., Assistant Attorney General, Tallahassee, for Respondent.
PER CURIAM.
DENIED. See Munn v. Florida Parole Commission, 807 So. 2d 733 (Fla. 1st DCA 2002).
VAN NORTWICK, THOMAS, and ROBERTS, JJ., concur.
